       Case 2:11-cr-00323-JAM Document 193 Filed 08/13/15 Page 1 of 3



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8
                                             UNITED STATES DISTRICT COURT
9
                                            EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                           No. Cr. S 11-cr-323 JAM
12
                               Plaintiff,                STIPULATED MOTION AND ORDER TO
13                                                       REDUCE SENTENCE PURSUANT TO 18
               v.                                        U.S.C. § 3582(c)(2)
14
     KENNETH GEORGE EATON,                               RETROACTIVE DRUGS-MINUS-TWO
15                                                       REDUCTION CASE
                               Defendant.
16                                                       Judge: Honorable JOHN A. MENDEZ

17             Defendant, KENNETH GEORGE EATON, by and through his attorney, Assistant
18   Federal Defender Hannah R. Labaree, and plaintiff, UNITED STATES OF AMERICA, by and
19   through its counsel, Assistant U.S. Attorney Jason Hitt, hereby stipulate as follows:

20             1.         Pursuant to 18 U.S.C. § 3582(c)(2), this Court may reduce the term of

21   imprisonment in the case of a defendant who has been sentenced to a term of imprisonment

22   based on a sentencing range that has subsequently been lowered by the Sentencing Commission

23   pursuant to 28 U.S.C. § 994(o);

24             2.         On June 11, 2013, this Court sentenced Mr. Eaton to a total term of 78 months

25   imprisonment, comprised of 78 months on Count 1of the indictment (a violation of 21 U.S.C. §§

26   846 and 841(a)(1)) and 60 months on Count 1 of the superseding information (a violation of 31

27   U.SC. § 5324(a)(1)), to run concurrently;

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     Stipulation and Order Re: Sentence Reduction         1
       Case 2:11-cr-00323-JAM Document 193 Filed 08/13/15 Page 2 of 3



1              3.         As to the drug offense, Mr. Eaton’s total offense level was 31, his criminal
2    history category was I, and the resulting guideline range was 108 to 135 months. He received a
3    reduction from the statutory mandatory minimum on the government’s motion;
4              4.         The sentencing range applicable to Mr. Eaton was subsequently lowered by the
5    United States Sentencing Commission in Amendment 782, made retroactive on July 18, 2014,
6    see 79 Fed. Reg. 44,973;
7              5.         As to the drug offense, Mr. Eaton’s total offense level has been reduced from 31
8    to 29, and his amended guideline range is 87 to 108 months. A reduction comparable to the one
9    he received initially yields a term of 56 months;
10             6.         Accordingly, the parties request the Court enter the order lodged herewith
11   reducing Mr. Eaton’s total term of imprisonment to 60 months, comprised of 56 months on
12   Count 1 of the indictment and 60 months on Count 1 of the superseding information, to run
13   concurrently.
14   Respectfully submitted,
15   Dated: August 12, 2015                             Dated: August 12, 2015
16
     BENJAMIN B. WAGNER                                 HEATHER E. WILLIAMS
17   United States Attorney                             Federal Defender

18    /s/ Jason Hitt______                              /s/ Hannah R. Labaree __
19   JASON HITT                                         HANNAH R. LABAREE
     Assistant U.S. Attorney                            Assistant Federal Defender
20   Attorney for Plaintiff                             Attorney for Defendant
21   UNITED STATES OF AMERICA                           KENNETH GEORGE EATON

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     Stipulation and Order Re: Sentence Reduction          2
       Case 2:11-cr-00323-JAM Document 193 Filed 08/13/15 Page 3 of 3



1                                                        ORDER
2              This matter came before the Court on the stipulated motion of the defendant for reduction
3    of sentence pursuant to 18 U.S.C. § 3582(c)(2).
4              The parties agree, and the Court finds, that Mr. Eaton is entitled to the benefit
5    Amendment 782, which reduces the total offense level on Count 1 of the indictment from 31 to
6    29, resulting in an amended guideline range of 87 to 108 months. A reduction comparable to the
7    one he received initially yields a term of 56 months.
8              IT IS HEREBY ORDERED that the total term of imprisonment imposed in June 2013 is
9    reduced to a term of 60 months, comprised of 56 months on Count 1 of the indictment and 60
10   months on Count 1 of the superseding information, to run concurrently.
11             IT IS FURTHER ORDERED that all other terms and provisions of the original judgment
12   remain in effect. The clerk shall forthwith prepare an amended judgment reflecting the above
13   reduction in sentence, and shall serve certified copies of the amended judgment on the United
14   States Bureau of Prisons and the United States Probation Office.
15             Unless otherwise ordered, Mr. Eaton shall report to the United States Probation Office
16   within seventy-two hours after his release.
17   Dated: August 12, 2015
18                                                  /s/ John A. Mendez_____________________
19                                                  Honorable John A. Mendez
                                                    United States District Court Judge
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     Stipulation and Order Re: Sentence Reduction            3
